                Case 2:20-cv-00827-RSM Document 15 Filed 10/21/20 Page 1 of 3



 1   J. Robert Weyreter, Esq. (Admitted Pro Hac Vice)           Judge Ricardo S. Martinez
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15
                           UNITED STATES DISTRICT COURT
16
                      WESTERN DISTRICT OF WASHINGTON (SEATTLE)

17
     ARABIA ADA McCORMICK,                          CASE NO. 2:20-cv-00827-RSM
18          Plaintiff,
19
          vs.                                       STIPULATION AND ORDER OF
20                                                  DISMISSAL WITH PREJUDICE AS TO
     TRANS UNION LLC, a Delaware Limited            DEFENDANT TRANS UNION, LLC
21   Liability Company and BOEING
     EMPLOYEES CREDIT UNION, a
22   Washington State Credit Union,
                Defendants.
23

24
         Plaintiff Arabia Ada McCormick (“Plaintiff”), by counsel, and Defendant Trans Union,

25   LLC (“Trans Union”), by counsel, hereby stipulate and agree that all matters herein between

26



     STIPULATION OF DISMISSAL - 1                                SCHUCKIT & ASSOCIATES, P.C.
                                                                    4545 NORTHWESTERN DRIVE
     2:20-cv-00827-RSM                                                 ZIONSVILLE, IN 46077
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              Case 2:20-cv-00827-RSM Document 15 Filed 10/21/20 Page 2 of 3



 1   them have been compromised and settled, and that Plaintiff’s cause against Trans Union only
 2
     should be dismissed, with prejudice, with each party to bear its own costs and attorneys’ fees.
 3
                                                          Respectfully submitted,
 4

 5
     Date: October 20, 2020                               s/ SaraEllen Hutchison (with consent)
 6
                                                         SaraEllen Hutchison, Esq.
                                                         Law Offices of SaraEllen Hutchison, PLLC
 7
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                                                         Telephone: (206) 529-5195
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 9
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10
                                                          Counsel for         Plaintiff       Arabia   Ada
                                                          McCormick
11

12

13
     Date: October 20, 2020                               s/ J. Robert Weyreter
                                                          J. Robert Weyreter, Esq.
14                                                         (Admitted Pro Hac Vice)

15                                                        Benjamin I. VandenBerghe, Esq.
                                                           WA State Bar No. 35477
16
                                                          Christopher M. Reed, Esq.
17
                                                           WA State Bar No. 49716

18                                                        Counsel for Defendant Trans Union, LLC

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21   IT IS SO ORDERED.

22   Dated this 21st day of October, 2020.

23

24

25                                                A
                                                  RICARDO S. MARTINEZ
26                                                CHIEF UNITED STATES DISTRICT JUDGE


     STIPULATION OF DISMISSAL - 2                                     SCHUCKIT & ASSOCIATES, P.C.
                                                                         4545 NORTHWESTERN DRIVE
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              Case 2:20-cv-00827-RSM Document 15 Filed 10/21/20 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE

 2        The undersigned hereby certifies that a copy of the foregoing has been filed electronically
 3
     on the 20th day of October, 2020. Notice of this filing will be sent to the following parties by
 4
     operation of the Court’s electronic filing system. Parties may access this filing through the
 5
     Court’s electronic filing.
 6
     SaraEllen Hutchison, Esq.
 7
     saraellen@saraellenhutchison.com
 8
          The undersigned further certifies that a true copy of the foregoing was served on the
 9
     following parties via First Class, U.S. Mail, postage prepaid, on the 20th day of October, 2020,
10
     properly addressed as follows:
11

12
     None.

13

14                                                       s/ J. Robert Weyreter
                                                         J. Robert Weyreter, Esq.
15
                                                          (Admitted Pro Hac Vice)
16
                                                         Counsel for Defendant Trans Union, LLC
17

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     STIPULATION OF DISMISSAL - 3                                    SCHUCKIT & ASSOCIATES, P.C.
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